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                                                           April 14, 2022

     Via ECF and Email
     Honorable Thomas I. Vanaskie, Special Master
     Stevens & Lee, P.C.
     1500 Market Street, East Tower, 18th Floor
     Philadelphia, Pennsylvania 19103

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                           No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Vanaskie:

                Attached is Plaintiffs’ proposed Special Master Order with regard to Defendants’ defend

     and indemnify agreements and disputes, as directed at the April 13, 2022 status hearing.

                Thank you for your courtesies and consideration.

                                                      Respectfully,



                                                      ADAM M. SLATER

     Encl.

     cc:        All Counsel (via CM/ECF)
